Case 2:05-cr-20157-.]PI\/| Document 4 Filed 06/22/05 Page 1 of 2 Page|D 7

UNITED STATES DISTRICT COURT men ar__\iM..__...nn
FOR THE
WESTERN DISTRICT oF TENNESSEE 05 JUN 252 m |g; | 1

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Criminal No.: 05-20157 MI An

UNITED STATES OF AMERICA,

VS.

H $ $ § * *

DANIEL I. CHENEY,

APPLICATION, OR])ER and WRIT FOR HABEAS CORPUS AD PROSEQUDUM

David C. Henry applies to the Court for a Writ to have DANIEL I. CIIENEY, D()B 07/18)'60,
Booking # 0511 1668 now being detained in the Shelby County Jail, appear before the Honorable S. Thomas
Anderson, on Thursday, June 30, 2005 at 2:00 p.m., FOR INTTIAL APPEARANCE, and for such other

appearances as this Court may direct.

Respectfully submitted this 22nd day of June, 2005.

 

Respectfully submitted,

TERRELL L. HARRIS

United States At%u{
/M

D¢(vl‘D C. HENW\L

Assistant United States Attorney
167 N. Main, Room 800
Mernphis, TN 38103

(#012986 Tennessee)

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Upon consideration of the foregoing App]ication,

DAVID G. JOLLY, U.S. MARSHAL, WESTERN DISTRJCT OF TENNESSEE, MEMPHIS, TN
MARK LUTTRELL ,SHERIFF/WARDEN, SI-IELBY COU`NTY JAlL

YOU ARE HEREBY COMMANDED to have DANIEL I. CI'[ENEY, DOB 07/18/60, Booking

# 0511 1668 appear before the Honorable S. Thomas Anderson at the date and ti aforementioned

ENTERED this jl_Lday of June, 2005. /[,_

HONO'RABLE TU M. PHAM

document entered on the docket ~ = =r it 11 .i Um_ted States Magistrate Judge
… RLI\G 55 B'HCUOI‘ 3203) FRCFP Ol'\ l

 

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20157 Was distributed by faX, mail, or direct printing on
J unc 22, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

